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                                                            ,        .     L.'                     G.S. Department of Justice
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                                                                                              July ~2. 201!)

Jeni!er Wicks
Law Offiee of Jenifer Wicks
~OO 7th Street NW Suite 202
Washington. DC 2000~

                 Re:              United Slates \', Corev Alston. Criminal No, PX-j9-15S

Dear Counsel:

        This letter. togelher wilh the Scaled Supplement. con!irms the plea agreement (this
"Agreement") Ihat has been offered 10 your client. Corey Alston (hereinaticr "Dcfendant"). by Ihe
Uniled States Attorncy's Otliee fi.Jrthe Dislrict of Maryland ("tltis Officc"). If the Defendanl
accepts this ofler. please have thc Delendant execute il in the spaces provided below. If this offer
has not been accepted by July 31, 2019, it will be deemed withdrawn.              Tlte terms of the
Agreement arc as follows:

                                                                           Oflense of COJ1\'iclion

        I,      The Defendant agrees to plead guilty 10 Count One of tlte Indictment. which
chargcs the Defendant with Racketeering. in violation of 18 U.S.c. ~ 1962(e). Thc Delendant
admils that tlte Defendant is. in faet. guilty of the offense and will so advise the Court.

                                                                          Elements of the Offense

         ,      The elcments of the ollensc 10 which lite Dclendant has agreed                                                                 10   plead guilty. and
wltich this Ofliee would prove iftlte ease wcnllO trial. arc as tallows:

Racketeering, in violation of 18 V.S.c. & 1962(c):

                 On or about the time alleged in Ihe Indiclment. in lhc District of Maryland:

              1)        That an enterprise existed as alleged in the indictll1cl1\:
              2)        Tltat the enterprise affected interstate or torei~n commerce:
              3)        That the dcfendant was associated with or emplo)'cd by lhe enterprise:
              4)        That the defendant engaged in a pattern ofracketecring acti\'ity or thc collection of an
                        unlawful debt: and
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         5) That the defendant conducted or participated in the conduct of the enterprise through
            that pattern of racketeering activity or collection of an unlawful debt.

                                              Penalties

      3.       The maximum penalties provided by statute for the offense(s) to which the
Defendant is pleading guilty are as follows:

                             Minimum       Maximum         Supervised       Maximum        Special
  Count        Statute
                              Prison        Prison          Release            Fine      Assessment
                                                                            $250,000
                                                                             or twice
                                                                            the gross
              18 U.S.C.
     I                          N/A         20 years          3 years       proceeds         $100
              ~ 1962(c)
                                                                             derived
                                                                            from the
                                                                             offense

                a.      Prison: If the Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.

               b.      Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

              c.      Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. ~~ 3663, 3663A, and 3664.

                 d.      Payment: If a fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. ~ 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

               e.       Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

                f.      Collection of Debts: If the Court imposes a fine or restitution, this Office's
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (I) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant


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authorizes this Office to obtain a credit report in order to evaluate the Defendant's ability to pay,
and to request and review the Defendant's federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

                                         Waiver of Rights

       4.      The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

                a.    If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

                b.      If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

                c.    If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

               d.     The Defendant would have the right to testifY in the Defendant's own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant's decision not to testify.

                e.     If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court's decisions.

               f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court's questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be


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admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

                g.      If the Court accepts the Defendant's plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

                 h.    By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss ofimmigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a natura1ized citizen, pleading guilty may have consequences with respect to the
Defendant's immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant's attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

                              Advisory Sentencing Guidelines Aoply

        5.      The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. ~ 3551-3742 (excepting 18 U.S.C. ~ 3553(b)(1) and 3742(e» and
28 U.S.C. ~~ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

                           Factual and Advisory Guidelines Stipulation

        6.    This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

           a. This Office and the Defendant agree that the applicable base offense level is 19
pursuant to United States Sentencing Guidelines ("U.S.S.G.") ~2EI.1(a)(l);

           b. The offense level is increased by 4 levels because the Defendant was a leader or
organizer and the criminal activity involved five or more participants or was otherwise extensive
pursuant to U.S.S.G. ~ 3BI.1(a).

           c. This Office does not oppose a 2-level reduction in the Defendant's adjusted offense
level purs~t to U.S.S.G. ~ 3El.l(a) based upon the Defendant's apparent prompt recognition
and affirmative acceptance of personal responsibility for the Defendant's criminal conduct. This
Office agrees to make a motion pursuant to U.S.S.G. ~ 3El.l(b) for an additional I-level decrease


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in recognition of the Defendant's timely notification of the Defendant's intention to enter a plea
of guilty. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
~ 3El.1(a), and may decline to make a motion pursuant to U.S.S.G. ~ 3El.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the
offense; (iii) gives conflicting statements about the Defendant's involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(viii) violates this Agreement in any way.

Accordingly, the Defendant's ANTICIPATED              combined fmal offense level will be 20.

        7.       There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant's criminal history could alter the Defendant's offense level.
Specifically, the Defendant understands that the Defendant's criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant's income.

        8.      Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

                                      Obligations of the Parties

        9.      At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. ~ 3553(a). This Office and the Defendant reserve the right to
bring to the Court's attention all information with respect to the Defendant's background,
character, and conduct that this Office or the Defendant deem relevant to sentencing, including the
conduct that is the subject of any counts of the Indictment. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant.

                                         Waiver of Appeal

      10.     In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

                 a.     The Defendant knowingly waives all right, pursuant to 28 U.S.C. ~ 1291 or
any other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant's conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.




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                 b.     The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. ~ 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant's criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fme, order of forfeiture,
order of restitution, and term or condition of supervised release), except as follows:

                      I.       The Defendant reserves the right to appeal any sentence that exceeds
the statutory maximum; and

                     II.       This Office reserves the right to appeal any sentence below a
statutory minimum.

                c.      The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

                       Defendant's Conduct Prior to Sentencing and Breach

         II.    Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. ~ 3C 1.1; will not violate any federal,
state, or 10ca1law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

          12.    If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule I I(c)(I)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule II of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant's guilty plea-even if made pursuant to Rule
II (c)( 1)(C}--if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule I 1(c)(l XC).




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                                         Court Not a Part\.

         13.     The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulution
in this Agreement. TIle Co uri will delennine the facts relevunt to sentencing. The Court is nnt
required to accept any recommendation or stipulation of the parties. The C01ll1 has the power 10
impose a sentence up to the maximum penalty allowed by law. If Ih" Coun makes sentencing
lindings difTerent from those stipulated in this Agreement. or if the Court imposes any sentence up
to the maximum allowed by statute. the Defendant will remain bound to fullill all of the obligatiuns
under this Agreement. Neither the prosecutor. ddcnse eounsd. nor the Co un can make a binding
prediction. promise, or representation as to what guiddines runge or senlenee the Delcndant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

                                         Entire Agreement

        14.      This leller. together with the Sealed Sopplement. constitutes the complete plea
agreement in this case. This leller. together with the Scaled Supplement. sopersedes any prior
understandings. promises. or conditions between this Ollice and the Dclcndant. There arc no other
agreements. promises. undertakings. or understandings between the Defendant and this Olliee
other than those set forth in this letter and the Scaled Supplement. Nt] changes to this Agreement
will be effective unless in wTiting. signed by all parties and approved by the Court.

        tfthe Defendant fully accepts each and e\'ery term and condition of this :\greemelll.   please
sign and have the Defendant sign the original and return it to me promptly.

                                                       V cry truly yours.

                                                       Robert 1\.. Ilur
                                                       United Stales Attome)'

                                                      'r!tLuurl
                                                      Lauren E. Perry
                                                                        p~-
                                                      Scan R. Ddaney
                                                      Assistant United Stales !\llome)'s

        I have read this Agreement. including the Scaled Supplement. and carefullY re\'iew'ed e\"CrY
par: of it with m)' attomey.    I understand it and I voluntarily agree to it. Sp~eilicall)'. I huy~
reVIewed the Factual and Advisory Guidelines Stipulatiun with mv altol'llev and I do nol wish 10
change any part of it. I am completely smislied with the represenl;lion of l;lY attorney.


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         I am the Defendant's attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant's decision to enter
into this Agreement is an informed and voluntary one.


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                                                   ATfACHMENT          A                         ~. ' ... c, r 1..." D

                                               STIPULATION OF FACTS               ZOf9 S[P /8 PN /2: 46
                                                                                     CI..,!: ; '':; OFFlr,
                     The undersigned parties stipulate and agree that if this case hafJp;/i-ceeded:io /rial, this
            Office would have proven the/ollowing/acts beyond a reasonable dfJlfl!.t.The undersiPd.e1..~rties
                                                                                      01
            also stipulate and agree that the following facts do not encompass all the evt~F1Jiatiwould
            have been presented had this matter proceeded to trial.

                     The defendant, COREY ALSTON, was incarcerated at the Maryland Correctional
            Institute Jessup ("MCIJ"), a Maryland Department of Public Safety and Correctional Services
            ("DPSCS") prison operated in Jessup, Maryland, in Anne Arundel County. ALSTON, along with
            other inmates, employees, and associates of MCIJ, conducted and participated in MCIJ's affairs
            through a pattern of racketeering activity that included offenses involving drug distribution and
            bribery. MCIJ was an "enterprise" that affected interstate commerce.

                    While an inmate at MCIJ, ALSTON conspired with TYIRISHA JOHNSON, JAMIA
            LAWSON, ASHLEY ALSTON, and ALDON ALSTON, who obtained and packaged
            contraband, met with the correctional officers and employees, and managed the proceeds of illegal
            contraband sales for ALSTON.        Through these facilitators, ALSTON obtained contraband
            consisting of but not limited to Suboxone strips, Percocet, MDMA, K2, and tobacco. The
            contraband was brought into MCIJ by Correctional Officer C"CO")JANEL GRIFFIN and MCIJ
            Contract Nurse JOSEPH NW ACHA in exchange for bribe payments. ALSTON also conspired
            with fellow inmate SCHVEL MACK to obtain the contraband through bribes and to sell the
            contraband to other inmates.

                   More specifically, between April 2017 and November 2017, ALSTON were intercepted
            over court-authorized wiretaps and in recorded jail calls discussing contraband smuggling with his
            co-conspirators. ALSTON was recorded discussing obtaining and packaging contraband,
            meetings between his facilitators and GRIFFIN and NW ANCHA, and the payment of bribes to
            them.

                  Starting in at least April 2017, at the request of ALSTON, JOHNSON met several times
            with GRIFFIN.      In a series of recorded jail calls in April and May 2017, ALSTON and
            JOHNSON discussed JOHNSON meeting with GRIFFIN so that GRIFFIN could bring
            Suboxone, K2, and tobacco into MCIJ.

                   For example, on or about April 20, 2017, in a recorded jail call, ALSTON instructed
            JOHNSON to contact GRIFFIN and ask her to "bring the rest of the stuf'ftomorrow" including
            tobacco and Suboxone and to find out what GRIFFIN would charge to smuggle in a contraband
            phone. JOHNSON informed ALSTON that GRIFFIN agreed to bring some ofit into the facility.

                    On or about May 2, 2017, in a recorded jail call, ALSTON told JOHNSON to talk to
            GRIFFIN and "tell her you got all the money ready ... she can come and give it to me tomorrow."
            In a second recorded jail call that day, JOHNSON informed ALSTON that she was "meeting with
            the girl [GRIFFIN] tomorrow." JOHNSON and GRIFFIN then met on May 3, 2017 for the
            purpose of JOHNSON providing contraband to GRIFFIN.

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       In August 2017, ALSTON, on a recorded phone call, directed JOHNSON to provide
GRIFFIN $800 in cash as payment for GRIFFIN smuggling contraband into MCIJ, which
JOHNSON subsequently did. Two days later, GRIFFIN deposited $700 cash into her bank
account.

          Around the same time, ALSTON was also recorded instructing ASHLEY ALSTON and
ALDON ALSTON to obtain, package, and facilitate the smuggling of contraband. For example,
on or about May 10, 2017, in a recorded jail call, ALSTON asked ASHLEY ALSTON to package
Suboxone for entry into the prison telling her that JOHNSON was "gonna show you how to do
it. .. she gonna show you how to take them out, put them in on the plastic, fold it over." ALSTON
told ASHLEY ALSTON that GRIFFIN would "pick it up."

        On or about June 6, 2017, in a recorded jail call, ASHLEY ALSTON informed ALSTON
that she had 60 Suboxone strips that were selling for $10 each. ALSTON stated that he was
"gonna buy them Thursday" and that "AsWey gonoa come get them."

       On or about July 2, 2017, in a recorded jail call, ALSTON asked ALDON ALSTON to
help him obtain contraband. ALSTON asked ALDON ALSTON for "205" and ALDON
ALSTON confirmed that the going rate was somewhere between $80 and $90 each and that
ALDON ALSTON would "check on em."

       Beginning in or about September 2017, ALSTON began bribing MCIJ contract nurse
NWANCHA to bring contraband into MCIJ. ALSTON instructed JOHNSON to meet with
NW ANCHA and, on November 5, 2017, NW ANCHA and JOHNSON met. During the meeting,
JOHNSON provided NW ANCHA with bribe money, as well as contraband, including controlled
substances, to be smuggled into ALSTON at MCIJ.

       On or about November 14,2017, ALSTON informed NWANCHA that he would have
another co-conspirator, LAWSON, send NWANCHA a bribe payment via Western Union.
NW ANCHA agreed to bring contraband phones into ALSTON the following day.

        On or about November 16,2017, in a recorded phone call over a contraband phone,
JOHNSON informed ALSTON that she collected approximately $500. ALSTON told
JOHNSON to give the money to ALDON ALSTON so that ALDON ALSTON could give "the
man [NWANCHA] some money." The following day, ALSTON informed NWANCHA that
ALDON ALSTON would provide NW ANCHA $500 and the additional $300 would be
transferred to him electronically. NW ANCHA later confirmed With ALSTON that ALDON
ALSTON had provided him the $500.

         On or about November 20, 2017, ALSTON sent NWANCHA a text message asking
NWACHA to smuggle a pocket knife into the facility for ALSTON.                ALSTON told
NW ANCHA, "1 want to be prepared because not running from no one. I want to be the only one
in the jail with a pocket knife to man." NWANCHA agreed to bring the knife into MCIJ.

        On or about November 24, 2017, ALSTON asked NW ANCHA to meet with LAWSON
for the purpose of providing a bribe payment and contraband. ALSTON informed NW ANCHA


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      that LAWSON had approximately $900 !tlr him. as wdl as a contrahand phune. K2. and an ounce
      of cocaine. NWANCHA agreed to the meet. That same day. ALSTON instructed LA WSOl'i
      to mect with NW AI'1CHA and to "get up there. give him the shit. keep it moving:'

             On or about Novemher 28.2017. NWANCHA was stopped 3t MCIJ in possession of
      approximatcly 230 grams of K2 intended for MCIJ inmates. induding ALSTOJli.

             ALSTON        agrees that he associated with the enterprise described in the Indictment and
      knowingly participated in the all'airs of that enterprise. ALSTON furlher agrees that the
      Racketeering Acts in which he is charged in the Indictment represent an accurate sample of his
      activities in furtherance of the racketeering enterprise.


      SO STIPULATED:

                                                   ~jJfJ~
                                                   Lauren E. Pcrry
                                                   Sean R. Ddaney
                                                   Assistant Unitcd Statcs Attorneys


                                                    &wj(aPdnn
                                                   Corey lston
                                                   Dclcndant



                                                   Jen I r ic 'S. Esq.
                                                   COl sci li)r Defcndant




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